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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA

SMARTMATIC USA CORP.,
SMARTMATIC HOLDING B.V., AND
SGO CORPORATION LIMITED,

             Plaintiffs,

     v.                              Civil Action No. 1:21-cv-02900-CJN

HERRING NETWORKS, INC., D/B/A
ONE AMERICA NEWS NETWORK,

             Defendant.

  OAN’S REPLY IN SUPPORT OF MOTION FOR RELIEF FROM PLAINTIFFS’
        VIOLATIONS OF JUDGE NICHOLS’S PROTECTIVE ORDER
       AND USE OF OAN’S CLAWBACKED MATERIAL IN SUPPORT
             OF THEIR SUMMARY JUDGMENT RESPONSE
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          Herring Networks Inc. d/b/a/ One America News Network (“OAN”) files this Reply to

Plaintiffs’ Response to Defendants’ Motion for Relief with Respect to Plaintiffs’ Violations of

Judge Nichols Protective Order and Use of OAN’s Clawbacked Material in Support of their

Summary Judgment Response (“Motion”) as follows:

                                          I. SUMMARY

          OAN’s Motion, filed on January 19, 2024, seeks this Court’s intervention and relief from

Plaintiffs’ willful misconduct and knowing disregard for the Federal Rules of Civil Procedure

26(b)(5)(B), the D.C. Rules of Professional Conduct, and the agreed-to Protective Order with

regard to a series of OAN’s inadvertently produced privileged emails (“Inadvertent Production

Material”). See Dkt. 48 at 6. Plaintiffs’ Response (Dkt. 180) and the admissions contained therein

further establish and confirm the grounds for sanctions for violation of the Protective Order, Fed.

R. Civ. P. 26(b)(5)(B), ethics violations, and bad faith set forth in the Motion, as shown below.

          Plaintiffs’ response to the Motion (“Response”) confirms that: (1) Plaintiffs found the

subject emails in OAN’s document production1; (2) Plaintiffs were then informed by OAN that

those certain emails were subject to a claim of privilege2; (3) OAN then sent a clawback letter3;

(4) despite a meet and confer with OAN’s counsel regarding the claim of privilege and protection

under the Protective Order, Plaintiffs decided to refer and cite to the Inadvertent Production

Material in their opposition to OAN’s motion for summary judgment on actual malice filed on

December 9, 20234; (5) Plaintiffs subsequently submitted the Inadvertent Production Material in


1
  Dkt. 180 at 30-31. All references in this Reply to pages on the Court’s docket are references to
the ECF pages.
2
    Dkt. 180 at 9.
3
    Id. at 31.
4
    Id. at 34-36.
                                                 1
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camera in support of their opposition to the motion for summary judgment but did not note that

the Material was subject to a claim of privilege.5 Plaintiffs then used their Response to this instant

Motion as a vehicle to extensively reference and use the Inadvertent Production Material to spin

false tales in order to attract media attention with extraneous, false and inflammatory allegations

beyond the scope of the Motion. See Dkt. 180. Indeed, one need only refer to the Table of Contents

in the Response to see that only (7) seven out of (33) pages are dedicated to OAN’s Motion and

request for sanctions. The first 23 pages use and discuss the Inadvertent Production Material yet

again for improper purposes in violation of Rule 26 and the Protective Order, despite OAN’s claim

of privilege.

          Plaintiffs’ interpretation of the Federal Rules, the Protective Order, and case law is not

merely wrong but put forward to deflect from bad faith behavior and is directly contradicted by

established case law, is unfounded, and is largely without citation to authority. For example, the

Response states, “Federal Rule 26(b)(5)(B) only applies if the information ‘is subject to a claim of

privilege, or of protection as trial-preparation material,” and Plaintiffs construe that to mean they

had no obligation to comply after they self-servingly concluded the Inadvertent Production

Material “could not be privileged.” Dkt. 180 at 32 (emphasis added). Plaintiffs do not cite a case

for this proposition nor can they, as it is belied by the text of the rule, which says that the party

who is notified of a claim of privilege “may promptly present the information to the court under

seal for a determination of the claim” of privilege. Fed. R. Civ. P. 26(b)(5)(B). The Advisory

Committee Notes, 2006 Amendment, Subdivision (b)(5) also states, “Because the receiving party

must decide whether to challenge the claim… .” If the Rule were as Plaintiffs imagine, there would




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    Id. at 30.
                                                  2
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be no reference to determination of a “claim” of privilege. And, as the record reflects, there is no

dispute here that the Inadvertent Production Material was the subject of a claim of privilege.

        Plaintiffs also turn the law on its head. OAN argued (based on this district’s case United

States Equal Emp. Opportunity Commission v. George Washington Univ., 502 F. Supp. 3d 62, 73

(D.D.C. 2020) (hereafter “EEOC”)), that a receiving party who is informed of an assertion of

privilege has two choices: to accept the privilege claim or challenge it to the Court, but Plaintiffs

claim that simple rule “is absurd, as it puts the onus on [Plaintiffs] to expend [their] own

resources… .” Dkt. 180 at 32. But “absurd” or not, that is precisely what the federal rules and this

district’s case law require, and Plaintiffs cannot arbitrarily choose to ignore them. See Fed. R. Civ.

P. 26(b)(5)(B); EEOC, 502 F. Supp. 3d at 73-74.

        Because Plaintiffs have undoubtedly reviewed and used (and continue to use) the

Inadvertent Production Material after a clawback request, they have violated the Court’s Protective

Order and Rule 26(b)(5)(B). OAN does not lightly seek sanctions, but Plaintiffs’ violation of the

Rules and the Court’s Order are clear and warrant such relief.

                                         II. ARGUMENT

A.      The Court—Not Plaintiffs—is the Proper Arbiter of Disputes Over Privileged or
        Protected Information; Plaintiffs Were Not Free to Use the Inadvertent Production
        Material at their Whim. (Reply to Response (Dkt. 180) pp. 20-36).

        Plaintiffs contend that “[e]ven if the Court now finds that the [Inadvertent Production

Material] is privileged, and now qualifies as Protected Information … Smartmatic had a good faith

basis for believing the exchange was not privileged … when it referenced the exchange in its

opposition brief. Smartmatic had made that position clear to OAN[] multiple times.” Dkt. 180 at

21. Plaintiffs’ approach impermissibly commandeers the Court’s role to determine privilege claims

in the first instance.



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       Notably, the Response does not cite a single case, nor have undersigned counsel found any,

that supports the position that Plaintiffs (as the receiving party) are the arbiters of whether or not

the Inadvertent Production Materials are protected emails that Plaintiffs can use as they please

after notice by the producing party. To the contrary, Rule 26(b)(5)(B) is clear and the law legion

that it is the Court not the receiving party who decides whether the material is privileged and

protected. See Fed. R. Civ. P. 26(b)(5)(B) (the party in possession may “promptly present the

information to the court under seal for determination of the claim.”); EEOC, 502 F. Supp. 3d at 73

(“[T]he rule itself provides that the claim of privilege, if disputed, will be resolved by the court; it

does not contemplate that the party in possession of the allegedly privileged material will or should

make that determination on its own.”); see also, e.g., Radiance Aluminum Fence, Inc. v. Marquis

Metal Material, Inc., 335 F.R.D. 371, 377 (E.D. Mich. 2020) (holding that, once a disputed claim

of privilege is made pursuant to Rule 26(b)(5)(B), the question of the applicability of the privilege,

including whether privilege has been waived, “is for the Court’s determination”). EEOC and the

cases cited therein are directly on point on this issue and Plaintiffs have no valid argument

otherwise. See EEOC, 502 F. Supp. 3d at 73-74.

B.     Plaintiffs’ Review and Use of the Inadvertent Production Material After Notice From
       OAN Violates Rule 26(b)(5)(B) and the Protective Order. (Reply to Response (Dkt.
       180) pp. 29-31).

       Plaintiffs attempt to escape the clear requirements of Rule 26 and this Court’s decision in

EEOC by claiming that was a “materially different situation” because in EEOC the “entire analysis

of the receiving party’s options and obligations is premised on the receiving party’s having not

reviewed the inadvertently produced document.” Dkt. 180 at 33. According to Plaintiffs’ errant

belief, the obligation to return a document over which privilege has been asserted applies only

when the receiving party has not already reviewed the document. Dkt. 180 at 33. But once again,



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Plaintiffs provide no textual basis for this distinction in Rule 26, and it appears that no case—from

any court, ever—has adopted it. Plaintiffs certainly haven’t cited one.

       In their failed attempt to distinguish EEOC, Plaintiffs highlight exactly why their actions

are covered by it. See Dkt. 180 at 33. In that case, the violation occurred because a party reviewed

the disputed document after a claim of privilege—which is exactly what Plaintiffs did here.6 The

Court held the EEOC’s “reviewing the emails at issue after the University informed the agency

that it claimed privilege over those communications … violated Rule 26(b)(5)(B) of the Federal

Rules of Civil Procedure.” EEOC, 502 F. Supp. 3d at 78 (emphasis added) (ordering destruction

of all copies of the subject document, ordering that the EEOC certify that it had done so, and

ordering the EEOC not to use or disclose the information at issue). Nowhere in EEOC did the

decision turn on whether the recipient reviewed the document before the assertion of privilege.7

       Besides the lack of textual or precedential support for Plaintiffs’ view, such an exception

would make no sense, as it would allow a party to keep using privileged documents despite the

assertion that they are privileged, thereby eviscerating Rule 26(b)(5)(B) by rendering pointless the

assertion of privilege, the clawback request, the admonition against the receiving party’s use and




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  For example, the Response recounts how, after OAN sent the clawback letter, Plaintiffs’ counsel
allegedly “knew OAN[] was not telling the truth, so it put the lie to the test” and not only
specifically inquired about the parties to the protected information during meet and confers,
continued to read and use it in crafting their discovery demands and court filings, specifically the
opposition to OAN’s partial motion for summary judgment on actual malice. Dkt. 180 at 14-20.
Unfortunately, given the admissions, tone and tenor of Plaintiffs’ Response, it seems highly likely
that Plaintiffs and their counsel also shared the protected information with third parties and the
media. “[A]n attorney who reviews material known to be privileged may be ‘engaging in a
dishonest act’ in violation of the Rules of Professional Conduct.” EEOC, 502 F. Supp. 3d at 78.
All such instances are also in violation of Rule 26.
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 The Response’s attempt to distinguish In re Disposable Contact Lens Antitrust Litigation, No.
15-md-2626, 2016 WL 7115998 (M.D. Fla. Oct. 24, 2016) (review of documents after notice not
permitted), fails for the same reason.
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disclosure of the information, and the admonition that the receiving party present the information

to the court under seal in the event they do not accept the claim. See Fed. R. Civ. P. 26(b)(5)(B).

Simply put, Plaintiffs were “prohibited from reviewing the documents at issue once [OAN] made

its claim of privilege—whether or not those documents were, in fact, privileged.” EEOC, 502 F.

Supp. 3d at 78 (emphasis added).

C.     Plaintiffs’ Contemptuous Use and Reference to the Inadvertent Production Material
       in their Opposition Brief to Summary Judgment and in the Response Violates Rules
       26(b)(5)(B) and the Protective Order. (Reply to Response (Dkt. 180) pp. 31-36).

       Instead of following the clear cut mandate and admonitions of Rule 26(b)(5)(B), the

Protective Order, the Rules of Professional Conduct, and established case law, Plaintiffs took

matters into their own hands and used the Inadvertent Production Material despite knowing that

OAN claimed it as privileged under Rule 26(b)(5)(B) and the Protective Order. EEOC and other

court decisions recognize a clear requirement of Rule 26 that unequivocally prohibits a party from

reviewing, using or disclosing a document after a claim of privilege, with no caveat for situations

where the party had already seen the document, as explained above. EEOC, 502 F. Supp. 3d at 73;

see also In re Disposable Contact Lens Antitrust Litigation, 2016 WL 7115998, at *4. The

Advisory Committee Notes for Rule 26(b)(5)(B) further provide that “no receiving party may use

or disclose the information pending resolution of the privilege claim[.]” Preferred Care Partners

Holding Corp. v. Humana, Inc., No. 08–20424–CIV, 2009 WL 982456, at *4 (S.D. Fla. Apr. 10,

2009) (quoting Fed. R. Civ. P. 26, advisory committee’s notes (2006)); see also, e.g., Piasa Com.

Interiors, Inc. v. J.P. Murray Co., No. 07-CV-617, 2010 WL 1241563 (S.D. Ill. Mar. 23, 2010).

       The decision in Piasa is especially on point. In Piasa, as here, the receiving party (Piasa)

did not deny that it used information that was subject to a privilege claim and failed to return the

information or present it to the court for review. 2010 WL 1241563, at *2. Instead, Piasa argued

the information was not privileged and that the producing party waived any privilege. The court
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noted that nothing in the rule requires that the information at issue actually be privileged in order

to comply with the rule. Rule 26(b)(5)(B) required that Piasa return the information or present it

to the court upon a claim of privilege. Id. (emphasis in original).

       The court also held the rule does not require an actual finding of privilege in order for

compliance with its terms, and it does not provide for the non-asserting party to make the

determination on its own. Id. Rather, if the receiving party “disputes the assertion of the privilege

and the erroneous disclosure, it can invoke the decision making authority of the court, but cannot

divine justice on its own.” Id. The court held that Piasa clearly failed to comply with the provisions

of Rule 26(b)(5)(B), despite numerous notifications of the claim by the producing party: “As Piasa

blatantly disregarded the requirements of Rule 26(b)(5)(B), the Court finds that barring further use

of the document to be an appropriate remedy. The provisions of Rule 26(b)(5)(B) are simple and

straight forward. The Court will not tolerate a blatant refusal to comply with the rule.” Id. at *2;

see also Ewald v. Norwegian Embassy, No. 11-cv-2116, 2014 WL 1309095, at *13–*14 (D. Minn.

Apr. 1, 2014) (“That Ewald disagreed with the Embassy’s assertion of privilege did not give her

or her counsel permission to ignore what Rule 26 requires.”). The portion of a document claimed

to be privileged may not be used until the privilege claim is decided. See Fed. R. Civ. P. 26 advisory

committee’s notes (2006 Amendment).”).

       Like in Piasa, courts across the country routinely bar a party from relying on a document

after violating Rule 26(b)(5)(B)’s provisions. In Tyler v. Kia Motors Mfg. Georgia, No. 14-cv-

00147, 2016 WL 9663168 (N.D. Ga. Aug. 1, 2016), for example, the court found the party who

filed a protected document in his opposition to a summary judgment motion after notice that the

issue was not resolved, and without first filing a motion to resolve the claim, had “blatantly

violated Rule 26(b)(5)(B) … by … filing [Exhibit 5] on the public docket,’ and therefore, Tyler is



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‘barred from further use of the unredacted version[ ] of [Exhibit 5].’” Id. at *3; see also Bank of

Camden v. State Bank & Trust Co., No. 13–CV–21, 2014 WL 991782, at *2 (M.D. Ga. Mar. 13,

2014) (barring further use of unredacted documents as the plaintiff gave them to its expert witness,

used them in a deposition, and filed them on the docket before moving to resolve defendant’s claim

of privilege)); Lawrence v. Dependable Med. Transp. Servs., L.L.C., No. 13–cv–0417, 2014 WL

2510628, at *2 (D. Ariz. Jun. 4, 2014) (citations omitted) (“Here, plaintiffs took it upon themselves

to make a determination as to whether the emails had been inadvertently disclosed and whether

the privilege had been waived. Such conduct does not comply with Rule 26(b)(5)(B). Because

plaintiffs have failed to comply with Rule 26(b)(5)(B), plaintiffs will not be allowed to use the

emails.”); Piasa, 2010 WL 1241563, at *2 (finding the plaintiff “blatantly disregarded the

requirements of Rule 26(b)(5)(B)” and barring its use of the document as defendant notified

plaintiff of the privilege claim and plaintiff did not return the document or submit it to the court

for review but rather used the contents of the document in its response brief).

       Courts have further held that even a brief reference to privileged materials constitutes use

in violation of Rule 26(b)(5)(B). See, e.g., Leser v. Indianapolis Pub. Sch., No. 16-CV-02044,

2019 WL 911240, at *3 (S.D. Ind. Feb. 22, 2019) (brief reference to clawed-back information in

a footnote “violat[ed] the federal rules” and “clearly constitute[d] a ‘use’ of the information”). But

here, it is undisputed—and in fact, Plaintiffs readily and repeatedly admit—that Plaintiffs not only

“review[ed] the documents at issue” after OAN “made its claim of privilege” but used them as

well. Plaintiffs not only admit to using the Inadvertent Production Material in their opposition brief

to the partial motion for summary judgment on actual malice after receipt of the clawback letter,

yet now insist they “violated nothing.” Dkt. 180 at 29. The Response continues, arguing, “even if

the Court disagrees” with Plaintiffs’ actions, they “should not be sanctioned for [their] use of the



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exchange in [their] opposition brief.”8 Dkt. 180 at 29 (emphasis added); see also id. at 21 (“Even

if the Court now finds the exchange is privileged, and now qualifies as Protected Information,

…Smartmatic had a good faith basis…when referenced it referenced the exchange in its opposition

brief.”) (emphasis in original).

       Indeed, the vast majority of the argument in the Response is not even responsive to the

issues raised by the Motion but an impermissible vehicle by which Plaintiffs once again use the

Inadvertent Production Material as a premise to advance a false narrative that they know is not

true. See, e.g., Dkt. 180, ECF pp. 6-7, 10-13, 20-21, 23-28; see also Dkt. 171-1, ECF p. 6. This

further use is also impermissible. The Response contains twenty-three (23) pages rife with explicit

references to the express language and substance of Inadvertent Production Material as the basis

for a myriad of unfounded, salacious, unsupported and blatantly false accusations unrelated to the

alleged violations of the Protective Order and Rule 26 that are the subject of OAN’s Motion.

Compare Dkt. 171 and Dkt. 180.

       In addition to violating Rule 26(b)(5)(B)’s admonition that the receiving party “must not

use or disclose the information until the claim is resolved,” Plaintiffs also violated D.C. Rules of

Professional Conduct 1.6, 1.15, and 8.4. EEOC, 502 F. Supp. 3d at 76. “When an attorney has

been put on notice that she has received material to which she is not entitled, her review of that

material would be ‘unethical.’” Id. “Rule 1.15(a) requires the receiving lawyer to return the




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  Neither Rule 26(b)(5)(B), nor the Protective Order, nor the Rules of Professional Conduct
provide exceptions for Plaintiffs’ unattested, hollow protestations of “good faith” to disregard the
mandatory directives to return or destroy the Inadvertent Production Material. See, e.g., Fed. R.
Civ. P. 26(b)(5)(B), Protective Order (Dkt. 48 at Paragraph 20(c) and PRC Rules 1.15(a) and
8.4(c). Once again, Plaintiffs’ contention is conclusory, without support under the law or facts and
does not ameliorate the willfulness of their actions.
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documents to the sending lawyer; the receiving lawyer also violates Rule 8.4(c) if the lawyer reads

and/or uses the material.” See id. at 76 (emphasis added).

D.     No Waiver or Consent to Use the Inadvertent Production Material Occurred (Reply
       to Response at 180: 36-38).9 (Reply to Response (Dkt. 180) pp. 36-38).

       In an attempt to deflect from their undeniable violations of Rule 26, the Protective Order,

and the rules of professional responsibility, Plaintiffs contend that “even if” the Inadvertent

Production Material were privileged, OAN delayed taking reasonable steps to rectify its disclosure.

Dkt. 180 at 36. At the outset OAN notes (again) that the questions of privilege and the “crime-

fraud” exception are not properly before the Court. Plaintiffs admit that those issues are not the

subject of OAN’s Motion, nor have Plaintiffs moved for such a determination. See Dkt. 180 at 8

(“OAN is not asking this Court to find that the [Inadvertent Production Material] is privileged”).

       Determination of the issue that actually is before the Court (i.e., whether Plaintiffs

complied with Rule 26 and the Protective Order) does not require the Court to first determine

whether the Inadvertent Production Material is privileged. As one court noted:



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  Unable to avoid the inevitable conclusion that they openly and blatantly violated Fed. R. Civ. P.
26 and the Protective Order, Plaintiffs instead focus the vast majority of the Response brief on
challenging OAN’s assertion of the joint-defense privilege. They even repeatedly criticize OAN
for not raising that issue directly, even though the case law cited above makes quite clear that
Plaintiffs are the ones obligated to file a motion if they wish to challenge privilege. Plaintiffs also
suggest that the Court should resolve OAN’s claim of privilege now because the court in EEOC
did so when ruling on a motion based on a Rule 26(b)(5)(B) violation. Dkt. 180 at 30 n.4. Yet,
EEOC created no such requirement. The court’s decision to assess the claimed privilege in EEOC
made sense because the producing party in its initial motion effectively asked the Court to
determine that the disputed materials were privileged. See EEOC, No. 17-CV-01978, Dkt. 58 at
12–15 (D.D.C. Aug. 11, 2020). Here, OAN made no such arguments in its Motion and, in fact,
explicitly affirmed that it “is not asking the Court to resolve the underlying issue of whether the
Inadvertent Production Material is privileged.” Dkt. 171 at 8 (emphasis in original). Even though
they have the burden, Plaintiffs have conspicuously declined to file a motion and have not sought
relief in the Response. In the event the Court should decide to entertain argument on the privilege
issue, OAN respectfully requests the opportunity to respond pursuant to a briefing schedule so it
can present its evidence in support of the claim.


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        [N]othing in [Rule 26(b)(5)(B)] requires that the information at issue actually be
        privileged in order to comply with the rule. Rule 26(b)(5)(B) requires that [the
        receiving party] return the information or present it to the court upon a claim of
        privilege. The rule does not require an actual finding of privilege in order for
        compliance with its terms.

Piasa, 2010 WL 1241563, at *2.10 Thus, “the question of whether the documents at issue in this

case are in fact privileged is not necessary to enforce the requirements of Rule 26(b)(5)(B)—

requirements [Plaintiffs] failed to follow here.” Woodard v. Victory Recs., Inc., No. 11-CV-7594,

2013 WL 4501455, at *3 (N.D. Ill. Aug. 22, 2013) (finding no basis for the argument that a

privilege determination “must go ‘first’”).11

        In any event, Plaintiffs’ claim that the “privilege” has been waived because OAN allegedly

took too long to challenge Plaintiffs’ improper use of the underlying materials is unequivocally

foreclosed by the Protective Order in this case, which states in the clawback provision that “the

Receiving Party shall not challenge either the adequacy of the Producing Party’s document review

procedure or its efforts to rectify the error.” Dkt. 48 at 11 (para. 19(c)).

        Plaintiffs cite as “instructive” (Dkt. 180 at 36) the decision in Williams v. District of

Columbia, 806 F. Supp. 2d 44 (D.C. Cir. 2011), a case where the producing party delayed two

years and eight months. In Williams, the producing party (the District) notified Williams of its


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    See also Bank of Camden, 2014 WL 991782, at *2 (receiving party’s arguments that
inadvertently produced material was not privileged or that privilege was waived were “irrelevant
to whether [the receiving party] complied with Rule 26(b)(5)(B),” which “does not require an
actual finding of privilege in order for compliance with its terms”); Lawrence, 2014 WL 2510628,
at *2 (same); Tyler, 2016 WL 9663168, at *3 n.4 (noting same and refusing to consider privilege
and waiver arguments), adopted by, Tyler v. Kia Motors Mfg. Georgia, 14-cv-147, 2016 WL
9651774 (N.D. Ga. Sept. 1, 2016), aff’d, 702 F. App’x 945 (11th Cir. 2017).
11
   Under the present circumstances, because this is a reply brief and Plaintiffs have not filed a
motion on the issue of privilege, OAN does not believe the Court should decide those issues at this
time. In fact, given Plaintiffs’ repeated and serious violations, the Court should simply bar
Plaintiffs from using the Inadvertent Production Material altogether. If, however, the Court
determines that it should decide the privilege issue, OAN asks that it be given the opportunity for
further briefing.
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error in a letter dated November 22, 2008, requesting that the communication be “return[ed] … at

once.” Williams, 806 F. Supp. 2d at 52. When Williams did not promptly return the communication

or otherwise respond to the District’s letter, the court found the District was on notice that further

action was required. Id. Nonetheless, the District waited approximately two years and eight months

before it filed a motion seeking the court’s intervention. Id. “Which is not to say that the District

was required to seek the Court’s intervention immediately on the heels of its letter to Williams.”

Id. The District, however, took no further action other than sending the initial letter, electing

instead to wait years while a privileged communication remained in the hands of a third-party to

the communication. Id. (emphasis added). But of course OAN waited nothing like the 32 months

in Williams, which is therefore readily distinguishable.

       As the court noted, “in appropriate circumstances, a producing party may be justified in

waiting a reasonable period of time to see if the receiving party will “sequester” the document and

“present the information to the court under seal for a determination of the claim.” Fed. R. Civ. P.

26(b)(5)(B); Williams, 806 F. Supp. 2d at 52.12 “Alternatively, a producing party may, and in fact

should, attempt to meet-and-confer with the receiving party in a good faith attempt to resolve the

dispute and obviate the need for the district court’s intervention.” Id. at 52. That is exactly what

OAN did here. See Butzer Dec. Dkt 171-1 and Exs. 1-A through 1-D (Dkt. 171-1 at 5-14) attached

thereto.




12
   Plaintiffs sent OAN a letter dated October 24, 2023 calling to its attention the production of
certain sensitive documents. See Dkt. 180 at 14. OAN responded on November 5, 2023, informing
Plaintiffs that OAN inadvertently produced an email communication protected by the joint defense
privilege and identified that email by Bates number. Dkt. 180-12 at 2. On November 20, 2023,
OAN then followed up with a written clawback letter informing Plaintiffs’ of the inadvertent
production of three emails and informing them not to use the privileged material “for any purpose
in this case.” Dkt. 180-13 at 2.
                                                 12
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       Moreover, Plaintiffs’ calculation of 87 days between the time it was on notice of the

inadvertent disclosure until the date it filed the Motion improperly measures the relevant time

period. See Dkt. 180 at 37. To determine whether a delay in asserting privilege is unreasonable,

courts look to the period between when the privilege-holder had knowledge of the disclosure

(rather than the when the disclosure was made) and when the privilege holder acted to address

that disclosure. EEOC, 502 F. Supp. 3d at 84. Plaintiffs sent a letter dated October 24, 2023, to

OAN informing them of the production of certain documents. See Dkt. 180 at 14. Promptly upon

realizing the Inadvertent Production Material had been produced, OAN sent a letter to Plaintiffs

within two weeks, on November 5, 2023, informing them of the inadvertent disclosure and

assertion of the joint defense privilege, and OAN followed up thereafter with the clawback letter

and the series of meet and confers. See Dkt. 171-1 at 2-13. Indeed, Plaintiffs’ Response cuts against

the argument that OAN did not act reasonably; rather, OAN acted in good faith, in accordance

with the Magistrate’s admonitions concerning discovery disputes (Tr. of December 20, 2023

Discovery Status Conference at pp. 5-6) and the terms of the Protective Order (Dkt. 48 at 3, para.

4; at 10-11 at para. 19(b), (c)) to try and resolve the issue without the Court’s intervention. See,

e.g., Dkt. 180 at 36-37; Kovacs Dec. Dkt. 180-1 at 2, 4-6 (para. 11-21), 6-7 (para. 23-28). This all

confirms OAN was not dilatory.

       Plaintiffs also contend that by stating “Thank you Caitlin” in an email, OAN’s counsel

somehow consented to the improper use of the Inadvertent Production Material in filing the

opposition to the partial motion for summary judgment, but that is entirely unreasonable. See, e.g.,

Dkt. 180 at 37; Ex. R, Dkt 180-15 at 2. Mere courtesy emails are hardly the basis for giving

approval to use material over which a claim of privilege had been made. The full context confirms

this. On December 22, 2023, Plaintiffs filed their Rule 56(d) Response in Opposition to



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Defendant’s Partial Motion for Summary Judgment (Dkt. 155) and therein and in the Affidavit of

Erik Connolly (Dkt. 155-1). Plaintiffs referenced Exhibits BB and CC but did not file them with

the Court at that time or provide them to OAN’s counsel. Subsequently, on Christmas Eve, after

OAN had requested copies, Plaintiffs forwarded the attachments and stated that the “Court does

not yet have these documents. We will keep you looped in on any communications with the Court

about in camera review,” to which Mr. Babcock responded, “Thank you Caitlin.” (Dkt. 180 at 2-

9, Exhibit R). Nothing more.

       Where, as here a claim of privilege is contested, Rule 26(b)(5)(B) requires the receiving

party to submit privileged documents in camera for the Court’s determine of a contested claim of

privilege prior to their use, which, from the statements in the email, it appeared to OAN that

Plaintiffs were intending to do.13 Thus, the response “Thank you,” immediately following the

receipt of Plaintiffs’ counsel’s email stating, “we will keep you in the loop,” is perfectly

reasonable. It certainly does not rise to the level of consent or acquiescence in Plaintiffs’ improper

use of protected material the use of such documents in the opposition and supporting affidavit,

which OAN steadfastly opposed. The notion that OAN, after numerous meet and confers and filing

a partial motion for summary judgment would suddenly and implicitly consent to Plaintiffs’ use

of that material in opposition to the motion for summary judgment is nonsensical. Plaintiffs cite

no cases finding waiver on similar grounds.14




13
   Unfortunately, Plaintiffs sanctionable conduct is once again evident in the fact that when they
did submit Exs. BB and CC to the Court in camera on December 28, 2023, they did so without
informing the Court that they were the subject of a clawback letter and claim of privilege. See Dkt.
180-16 at 2.
14
   The only case cited is inapposite. See Certain Underwriters at Lloyd’s, London v. Nat’l R.R.
Passenger Corp., 218 F. Supp. 3d 197, 199-201 (E.D.N.Y. 2016) (finding waiver for two exhibits
discussed extensively during a deposition, one of which had been previously withheld as privileged
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                                        III. CONCLUSION

       OAN seeks an order commensurate with the Court’s inherent powers that (1) requires

Plaintiffs to destroy all copies of the document and provide written confirmation by each that they

have done so; (2) strike all references to the Protected matter in the record, including but not limited

to the opposition to the motion for summary judgment; (3) bar Plaintiffs from using the information

in the future; and (4) require Plaintiffs to provide and certify as to the names and contact

information of all third parties with whom they communicated regarding the Inadvertent Protected

Material and their response to this motion (Dkt. 180). OAN also seeks attorneys’ fees for bringing

the sanction motion.

       The aforementioned sanctions are warranted under the facts of this case as are readily

apparent from the admissions in Plaintiffs’ Response, including but not limited to Plaintiffs’

knowing and willful use of the Inadvertent Protected Material in their opposition brief to summary

judgment and the Response. See EEOC, 502 F. Supp. 3d at 90 (and cases cited therein). Given

Plaintiffs’ insistence on doubling down on their improper use of the Materials, sanctions are not

only appropriate but necessary.




before being produced and confidential, when producing party’s counsel was present and failed to
object on the record).
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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 12th day of February 2024, the foregoing was filed with the

Clerk of the Court using the CM/ECF system, which will electronically mail notification of the

filing to all counsel of record who are registered ECF users.

                                                 /s/ R. Trent McCotter
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